     Case No. 1:21-cr-00392-RM Document 30 filed 03/22/22 USDC Colorado pg 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Criminal Case No. 21-cr-00392-RM

 UNITED STATES OF AMERICA,

                 Plaintiff,

 v.

 DANIEL STONEBARGER,

            Defendant.
 ______________________________________________________________________

      UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF FORFEITURE FOR A
                PERSONAL MONEY JUDGMENT AND SPECIFIC ASSETS
     ______________________________________________________________________

          COMES NOW the United States of America, by and through United States

 Attorney Cole Finegan and Assistant United States Attorney Tonya S. Andrews,

 pursuant to the provisions of Title 18, United States Code, Section 981(a)(1)(C), Title

 28, United States Code, Section 2461(c), and Rule 32.2(b) of the Federal Rules of

 Criminal Procedure, and moves this Court to enter a Preliminary Order of Forfeiture.

          In support, the United States sets forth the following:

I.        Procedural Background

          1.     On November 18, 2021, the United States charged defendant Daniel

 Stonebarger by Information with wire fraud in Count 1, a violation of Title 18, United

 States Code, Section 1343. (Doc. 1 at p. 7-8). The Information also contained a

 forfeiture allegation providing the defendant with notice that the United States, pursuant

 to the provisions of Title 18, United States Code, Section 981(a)(1)(C) and Title 28,


                                                1
Case No. 1:21-cr-00392-RM Document 30 filed 03/22/22 USDC Colorado pg 2 of 5




United States Code, Section 2461(c), would seek forfeiture of the following assets:

            a) $548,861.29 in fraud proceeds from the defendant’s bank account ending

               in 6774, account title Finish Armor, LLC;

            b) A 2016 Land Rover Range Rover, VIN: SALWR2EFXGA577611; and

            c) A money judgment in the amount of the proceeds obtained by the

               defendant’s scheme. (Doc. 1 at p. 9)

       2.      On January 27, 2022, the United States and defendant Daniel

Stonebarger entered into a Plea Agreement, in which the defendant pleaded guilty to

Count 1 and agreed to forfeit to the United States any and all interest the defendant

may have in the property described above. (Doc. 20, p. 4-6).

       3.      Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title

28, United States Code, Section 2461(c), the Court shall order criminal forfeiture of

property constituting, or derived from, proceeds obtained directly or indirectly as a result

of violation of Title 18, United States Code, Section 1343.

       4.      Pursuant to Rule 32.2(b)(1)(A) of the Federal Rules of Criminal Procedure,

the Court must determine what property is subject to forfeiture as soon as practicable

after a plea of guilty. When a personal money judgment is sought, “the court must

determine the amount of money that the defendant will be ordered to pay.” Fed. R.

Crim. P. 32.2(b)(1)(A).

       5.      The Court’s determination may be based on any plea agreement, any

other evidence already in the record, and any other additional evidence submitted by

the parties that the Court deems relevant and reliable. Fed. R. Crim. P. 32.2(b)(1)(B).


                                             2
Case No. 1:21-cr-00392-RM Document 30 filed 03/22/22 USDC Colorado pg 3 of 5




Once the property is determined to be subject to forfeiture, the Court must promptly

enter a Preliminary Order of Forfeiture. Fed. R. Crim. P. 32.2(b)(2)(A).

       6.     The facts as set forth in the Plea Agreement provide an ample basis for an

order of forfeiture. More specifically, defendant Daniel Stonebarger knowingly engaged

in a scheme to defraud the United States in order to obtain pandemic-relief funds to

which he was not entitled. The defendant submitted false and fraudulent Economic

Injury Disaster Loan (“EIDL”) and Paycheck Protection Program (“PPP”) applications

and was paid approximately $855,252.50 on those fraudulent applications. The

defendant also claimed and received approximately $28,142 in unemployment benefits,

based on his alleged unemployment from Finish Armor LLC, a business that was not

established until after the pandemic began. Accordingly, the defendant obtained

$883,394.50 in fraudulently obtained pandemic relief fraud. (Doc. 20. pp. 1-2; 9-18).

       7.     The plea agreement also set forth that the defendant used a portion of

these fraud proceeds to obtain the $548,861.29 seized from Account No. 6774, held in

the name of Finish Armor, LLC and a 2016 Land Rover Range Rover VIN:

SALWR2EFXGA577611. (Doc. 20, pp.17-18).

       8.     A Preliminary Order of Forfeiture is necessary in order for the United

States to seize the property subject to forfeiture. In addition, 21 U.S.C. § 853(n)

requires that third parties who may have an interest in the property receive notice, via

publication, or to the extent practical, direct written notice, of the forfeiture and the

United States’ intent to dispose of the property. The United States cannot accomplish

the seizure, notice, and publication without a Preliminary Order of Forfeiture.


                                               3
Case No. 1:21-cr-00392-RM Document 30 filed 03/22/22 USDC Colorado pg 4 of 5




      WHEREFORE, the United States moves this Court to enter the Preliminary Order

of Forfeiture for $548,861.29 seized from Account No. 6774, in the name of Finish

Armor, LLC, 2016 Land Rover Range Rover, VIN: SALWR2EFXGA577611, and a

money judgment in the amount of $334,861.29 ($883,394.50 less $548,861.29

recovered from Account No. 6774, in the name of Finish Armor, LLC), to be credited

with any net proceeds obtained from any additional judicially forfeited assets, including

proceeds from the sale of the 2016 Land Rover, for the reasons set forth above.

             DATED this 22nd day of March 2022.

                                                Respectfully submitted,

                                                COLE FINEGAN
                                                United States Attorney

                                            By: s/ Tonya S. Andrews
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                                            4
Case No. 1:21-cr-00392-RM Document 30 filed 03/22/22 USDC Colorado pg 5 of 5




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of March 2022, I electronically filed the
foregoing with the Clerk of Court using the ECF system which will send notification of
such filing to all counsel of record.


                                                s/ Sheri Gidan
                                                FSA Records Examiner
                                                Office of the U.S. Attorney




                                            5
